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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KRISTEN JOSEPH, CASE NUMBER

2:21-06654 SVW (ADS)

PLAINTIFF(S)
Vv.

SUPERIOR COURT OF CALIFORNIA LOS ANGELES, et ORDER RE REQUEST TO PROCEED

al., IN FORMA PAUPERIS
DEFENDANT(S)

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby GRANTED.

August 18, 2021 /s/ Autumn D. Spaeth
Date United States Magistrate Judge

IT Is RECOMMENDED that the Request to Proceed In Forma Pauperis be DENIED for the following reason(s):

[_] Inadequate showing of indigency [_] District Court lacks jurisdiction
[_] Legally and/or factually patently frivolous [-] Immunity as to

[_] Other:

Comments:

Date United States Magistrate Judge

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby:
[-] GRANTED
[_] DENIED (see comments above). IT IS FURTHER ORDERED that:
[_] Plaintiff SHALL PAY THE FILING FEES IN FULL within 30 days or this case will be dismissed.
[_] This case is hereby DISMISSED immediately.
[_] This case is hereby REMANDED to state court.

Date United States District Judge

CV-73 (08/16) ORDER RE REQUEST TO PROCEED IN FORMA PAUPERIS
